                                                                                    Motion GRANTED.
                                                                                    Hearing reset for
                             UNITED STATES DISTRICT COURT                           10/4/13 at 10:00 a.m.

                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                    NASHVILLE DIVISION



UNITED STATES OF AMERICA                     )
                                             )       Case No. 3:11-00082-9
                  v.                         )       JUDGE TRAUGER
                                             )
NICHOLAS THERON WHITE                        )



                         MOTION TO CONTINUE SENTENCING

       COMES NOW the United States of America, by and through Assistant United States

Attorney Sunny A.M. Koshy, and moves the Court to continue the defendant’s sentencing hearing

set for February 25, 2013, since the defendant’s cooperation is not yet complete.



                                             Respectfully submitted,

                                             JERRY E. MARTIN
                                             UNITED STATES ATTORNEY


                                     BY:       s/Sunny A.M. Koshy
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